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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

Criminal No. 21-10172-NMG

                                UNITED STATES OF AMERICA

                                                 v.

                                 JAMES KENNETH COUTURE

                              ORDER ON EXCLUDABLE TIME

                                        November 12, 2021

Boal, M.J.

       This Court previously excluded the time until November 18, 2021, which was the date of

the interim status conference. Docket No. 33. Based on the parties’ joint status report, see

Docket No. 34, this Court cancelled the interim status conference and scheduled another interim

status conference for January 18, 2022. Docket No. 35. Accordingly, this Court finds as

follows:

       1.       A continuance of this proceeding from November 18, 2021, through and

including January 18, 2022, which is the date of the next status conference, is necessary to

ensure that counsel for the defendant and the defendant have sufficient time to review discovery,

investigate the evidence, and to evaluate the need for, and to prepare, any pretrial motions. I

find, given the specific circumstances in this case, that this continuance constitutes “the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).

       2.       The ends of justice served by granting the continuance from November 18, 2021,

through and including January 18, 2022, outweigh the best interests of the public and the



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defendant for a trial within seventy days of the defendant’s initial appearance pursuant to the

Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).

       Accordingly, the Court hereby ORDERS that the period from November 18, 2021,

through and including January 18, 2022, be excluded from the Speedy Trial Act computation of

the time within which trial in the case must begin, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

3161(h)(7)(B)(iv). 1

                                               /s/ Jennifer C. Boal
                                              JENNIFER C. BOAL
                                              United States Magistrate Judge




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  The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United
States Magistrates in the United States District Court for the District of Massachusetts, any party
may move for reconsideration by a district judge of the determination(s) and order(s) set forth
herein within fourteen (14) days after receipt of a copy of this order, unless a different time is
prescribed by this court or the district judge. The party seeking reconsideration shall file with
the Clerk of this Court, and serve upon all parties, a written notice of the motion which shall
specifically designate the order or part thereof to be reconsidered and the basis for the objection
thereto. The district judge, upon timely motion, shall reconsider the magistrate judge's order and
set aside any portion thereof found to be clearly erroneous in fact or contrary to law. The parties
are further advised that the United States Court of Appeals for this Circuit has indicated that
failure to comply with this rule shall preclude further appellate review. See Phinney v.
Wentworth Douglas Hospital, 199 F.3d 1 (1st Cir. 1999); Sunview Condo. Ass’n v. Flexel Int’l
Ltd., 116 F.3d 962 (1st Cir. 1997); Pagano v. Frank, 983 F.2d 343 (1st Cir. 1993).

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